           Exhibit 3




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              EXHIBIT 13




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   Pro V & V and that expired on Feb 24, 2017. No other certification has been located.




9. Section 231(b) of the Help America Vote Act (HAVA) of 2002 (42 U.S.C. §15371(b))
   requires that the EAC provide for the accreditation and revocation of accreditation of
   independent, non-federal laboratories qualified to test voting systems to Federal standards.
   Generally, the EAC considers for accreditation those laboratories evaluated and
   recommended by the National Institute of Standards and Technology (NIST) pursuant to
   HAVA Section 231(b)(1). However, consistent with HAVA Section 231(b)(2)(B), the
   Commission may also vote to accredit laboratories outside of those recommended by NIST
   upon publication of an explanation of the reason for any such accreditation.




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10.
11. VSTL’s are VERY important because equipment vulnerabilities allow for deployment of
   algorithms and scripts to intercept, alter and adjust voting tallies.
12. There are only TWO accredited VSTLs (VOTING SYSTEM TEST LABORATORIES). In
   order to meet its statutory requirements under HAVA §15371(b), the EAC has developed the EAC’s
   Voting System Test Laboratory Accreditation Program. The procedural requirements of the program
   are established in the proposed information collection, the EAC Voting System Test Laboratory
   Accreditation Program Manual. Although participation in the program is voluntary, adherence to
   the program’s procedural requirements is mandatory for participants. The procedural requirements of
   this Manual will supersede any prior laboratory accreditation requirements issued by the EAC. This
   manual shall be read in conjunction with the EAC’s Voting System Testing and Certification
   Program Manual (OMB 3265-0019).




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13.




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14.




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15.




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16.




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17.
18. Pro V& V and SLI Gaming both lack evidence of EAC Accreditation as per the Voting System
   Testing and Certification Manual.



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19. Pro V& V is owned and Operated by Jack Cobb. Real name is Ryan Jackson Cobb. The company
   ProV&V was founded and run by Jack Cobb who formerly worked under the entity of Wyle
   Laboratories which is an AEROSPACE DEFENSE CONTRACTING ENTITY. The address
   information on the EAC, NIST and other entities for Pro V& V are different than that of what is on
   ProV&V website. The EAC and NIST (ISO CERT) issuers all have another address.




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20. VSTLs are the most important component of the election machines as they examine the use
   of COTS (Commercial Off–The-Shelf)
21. “Wyle became involved with the testing of electronic voting systems in the early 1990’s and
   has tested over 150 separate voting systems. Wyle was the first company to obtain
   accreditation by the National Association of State Election Directors (NASED). Wyle is
   accredited by the Election Assistance Commission (EAC) as a Voting System Testing
   Laboratory (VSTL). Our scope of accreditation as a VSTL encompasses all aspects of the
   hardware and software of a voting machine. Wyle also received NVLAP accreditation to
   ISO/IEC 17025:2005 from NIST.” Testimony of Jack Cobb 2009
22. COTS are preferred by many because they have been tried and tested in the open market and
   are most economic and readily available. COTS are also the SOURCE of vulnerability
   therefore VSTLs are VERY important. COTS components by voting system machine
   manufacturers can be used as a “Black Box” and changes to their specs and hardware make
   up change continuously. Some changes can be simple upgrades to make them more efficient
   in operation, cost efficient for production, end of life (EOL) and even complete reworks to
   meet new standards. They key issue in this is that MOST of the COTS used by Election
   Machine Vendors like Dominion, ES&S, Hart Intercivic, Smartmatic and others is that such
   manufacturing for COTS have been outsourced to China which if implemented in our
   Election Machines make us vulnerable to BLACK BOX antics and backdoors due to
   hardware changes that can go undetected. This is why VSTL’s are VERY important.
23. The proprietary voting system software is done so and created with cost efficiency in mind
   and therefore relies on 3rd party software that is AVAILABLE and HOUSED on the
   HARDWARE. This is a vulnerability. Exporting system reporting using software like
   Crystal Reports, or PDF software allows for vulnerabilities with their constant updates.
24. As per the COTS hardware components that are fixed, and origin may be cloaked under
   proprietary information a major vulnerability exists since once again third-party support
   software is dynamic and requires FREQUENT updates. The hardware components of the
   computer components, and election machines that are COTS may have slight updates that
   can be overlooked as they may be like those designed that support the other third -party
   software. COTS origin is important and the US Intelligence Community report in 2018
   verifies that.
25. The Trump Administration made it clear that there is an absence of a major U.S. alternative
   to foreign suppliers of networking equipment. This highlights the growing dominance of



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   Chinese manufacturers like Huawei that are the world’s LARGEST supplier of telecom and
   other equipment that endangers national security.
26. China, is not the only nation involved in COTS provided to election machines or the
   networking but so is Germany via a LAOS founded Chinese linked cloud service company
   that works with SCYTL named Akamai Technologies that have offices in China and are
   linked to the server that Dominion Software.




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27.
28. L3 Level Communications is federal contractor that is partially owned by foreign lobbyist
   George Soros. An article that AP ran in 2010 – spoke out about the controversy of this that
   has been removed. (LINK) “As for the company’s other political connections, it also appears
   that none other than George Soros, the billionaire funder of the country’s liberal political
   infrastructure, owns 11,300 shares of OSI Systems Inc., the company that owns Rapiscan.
   Not surprisingly, OSI’s stock has appreciated considerably over the course of the year. Soros
   certainly is a savvy investor.” Washington Examiner re-write.




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29.




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30.
31. L-3 Communication Systems-East designs, develops, produces and integrates
   communication systems and support equipment for space, air, ground, and naval
   applications, including C4I systems and products; integrated Navy communication systems;
   integrated space communications and RF payloads; recording systems; secure
   communications, and information security systems. In addition, their site claims that
   MARCOM is an integrated communications system and The Marcom® is the foundation of
   the Navy’s newest digital integrated voice / data switching system for affordable command
   and control equipment supporting communications and radio room automation. The
   MarCom® uses the latest COTS digital technology and open systems standards to offer the
   command and control user a low cost, user friendly, solution to the complex voice, video
   and data communications needs of present and future joint / allied missions. Built in
   reliability, rugged construction, and fail-safe circuits ensure your call and messages will go
   through. Evidently a HUGE vulnerability.




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32. Michigan’s government site is thumped off Akamai Technologies servers which are housed
   on TELIA AB a foreign server located in Germany.
33. Scytl, who is contracted with AP that receives the results tallied BY Scytl on behalf of
   Dominion – During the elections the AP reporting site had a disclaimer.
   AP – powered by SCYTL.




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34. “Scytl was selected by the Federal Voting Assistance Program of the U.S. Department of
   Defense to provide a secure online ballot delivery and onscreen marking systems under a
   program to support overseas military and civilian voters for the 2010 election cycle and
   beyond. Scytl was awarded 9 of the 20 States that agreed to participate in the program (New
   York, Washington, Missouri, Nebraska, Kansas, New Mexico, South Carolina, Mississippi
   and Indiana), making it the provider with the highest number of participating States.” PDF
35. According to DOMINION : 1.4.1Software and Firmware The software and firmware
   employed by Dominion D-Suite 5.5-Aconsists of 2 types, custom and commercial off the
   shelf (COTS). COTS applications were verified to be pristine or were subjected to source
   code review for analysis of any modifications and verification of meeting the pertinent
   standards.
36. The concern is the HARDWARE and the NON – ACCREDITED VSTLs as by their own
   admittance use COTS.
37. The purpose of VSTL’s being accredited and their importance in ensuring that there is no
   foreign interference/ bad actors accessing the tally data via backdoors in equipment
   software. The core software used by ALL SCYTL related Election Machine/Software
   manufacturers ensures “anonymity” .
38. Algorithms within the area of this “shuffling” to maintain anonymity allows for setting
   values to achieve a desired goal under the guise of “encryption” in the trap-door.
39. The actual use of trapdoor commitments in Bayer-Groth proofs demonstrate the implications
   for the verifiability factor. This means that no one can SEE what is going on during the
   process of the “shuffling” therefore even if you deploy an algorithms or manual scripts to
   fractionalize or distribute pooled votes to achieve the outcome you wish – you cannot prove
   they are doing it! See STUDY : “The use of trapdoor commitments in Bayer-Groth proofs
   and the implications for the verifiability of the Scytl-SwissPost Internet voting system”
40. Key Terms
41. UNIVERSAL VERIFIABILITY: Votes cast are the votes counted and integrity of the vote is
   verifiable (the vote was tallied for the candidate selected) . SCYTL FAILS UNIVERSAL
   VERIFIABILITY because no mathematical proofs can determine if any votes have been
   manipulated.
42. INDIVIDUAL VERIFIABILITY: Voter cannot verify if their ballot got correctly counted. Like, if
   they cast a vote for ABC they want to verify it was ABC. That notion clearly discounts the need for
   anonymity in the first place.




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43. To understand what I observed during the 2020 I will walk you through the process of one ballot cast
    by a voter.
44. STEP 1 |Config Data | All non e-voting data is sent to Scytl (offshore) for configuration of data. All
    e-voting is sent to CONFIGURATION OF DATA then back to the e-voting machine and then to the
    next phase called CLEANSING. CONCERNS: Here we see an “OR PROOF” as coined by
    mathematicians – an “or proof” is that votes that have been pre-tallied parked in the system and the
    algorithm then goes back to set the outcome it is set for and seeks to make adjustments if there is a
    partial pivot present causing it to fail demanding manual changes such as block allocation and
    narrowing of parameters or self-adjusts to ensure the predetermined outcome is achieved.
45. STEP 2|CLEANSING | The Process is when all the votes come in from the software run by
    Dominion and get “cleansed” and put into 2 categories: invalid votes and valid votes.
46. STEP 3|Shuffling /Mixing | This step is the most nefarious and exactly where the issues arise and
    carry over into the decryption phase. Simply put, the software takes all the votes, literally mixes them
    a and then re-encrypts them. This is where if ONE had the commitment key- TRAPDOOR KEY –
    one would be able to see the parameters of the algorithm deployed as the votes go into this mixing
    phase, and how algorithm redistributes the votes.
47. This published PAPER FROM University College London depicts how this shuffle works. In
    essence, when this mixing/shuffling occurs, then one doesn’t have the ability to know that vote
    coming out on the other end is actually their vote; therefore, ZERO integrity of the votes when
    mixed.




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   “Generators” and therefore together build “commitments.”




54. Scytl and Dominion have an agreement – only the two would know the parameters. This means that
   access is able to occur through backdoors in hardware if the parameters of the commitments are
   known in order to alter the range of the algorithm deployed to satisfy the outcome sought in the case
   of algorithm failure.
55. Trapdoor is a cryptotech term that describes a state of a program that knows the commitment
   parameters and therefore is able change the value of the commitments however it likes. In other
   words, Scytl or anyone that knows the commitment parameters can take all the votes and give
   them to any one they want. If they have a total of 1000 votes an algorithm can distribute them
   among all races as it deems necessary to achieve the goals it wants. (Case Study: Estonia)




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56.
57. Within the trapdoor this is how the algorithm behaves to move the goal posts in elections without
    being detected by this proof . During the mixing phase this is the algorithm you would use to




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    “reallocate” votes via an algorithm to achieve the goal set.




58. STEP 4|Decryption would be the decryption phase and temporary parking of vote tallies before
    reporting. In this final phase before public release the tallies are released from encrypted format into
    plain text. As previously explained, those that know the trapdoor can easily change any votes that the
    randomness is applied and used to generate the tally vote ciphertext. Thus in this case, Scytl who is
    the mixer can collude with their vote company clients or an agency (-------) to change votes and get
    away with it. This is because the receiver doesn’t have the decryption key so they rely solely on Scytl
    to be honest or free from any foreign actors within their backdoor or the Election Company (like
    Dominion) that can have access to the key.
59. In fact, a study from the University of Bristol made claim that interference can be seen when there is
    a GREAT DELAY in reporting and finalizing numbers University of Bristol : How not to Prove
    Yourself: Pitfalls of the Fiat-Shamir Heuristic and Applications to Helios
60. “Zero-knowledge proofs of knowledge allow a prover to convince a verifier that she holds
    information satisfying some desirable properties without revealing anything else.” David Bernhard,
    Olivier Pereira,and Bogdan Warinschi.




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61. Hence, you can’t prove anyone manipulated anything. The TRAP DOOR KEY HOLDERS can offer
    you enough to verify to you what you need to see without revealing anything and once again
    indicating the inability to detect manipulation. ZERO PROOF of INTEGRITY OF THE VOTE.
62. Therefore, if decryption is challenged, the administrator or software company that knows the trap
    door key can provide you proof that would be able to pass verification (blind). This was proven to be
    factually true in the case study by The University of Melbourne in March. White Hat Hackers
    purposely altered votes by knowing the parameters set in the commitments and there was no way to
    prove they did it – or any way to prove they didn’t.
63. IT’S THE PERFECT THREE CARD MONTY. That’s just how perfect it is. They fake a proof of
    ciphertexts with KNOWN “RANDOMNESS” .This rolls back to the integrity of the VOTE. The
    vote is not safe using these machines not only because of the method used for ballot “cleansing” to
    maintain anonymity but the EXPOSURE to foreign interference and possible domestic bad actors.
64. In many circumstances, manipulation of the algorithm is NOT possible in an undetectable fashion.
    This is because it is one point heavy. Observing the elections in 2020 confirm the deployment of an
    algorithm due to the BEHAVIOR which is indicative of an algorithm in play that had no pivoting
    parameters applied.
65. The behavior of the algorithm is that one point (B) is the greatest point within the allocated set. It is
    the greatest number within the A B points given. Point A would be the smallest. Any points outside
    the A B points are not necessarily factored in yet can still be applied.
66. The points outside the parameters can be utilized to a certain to degree such as in block allocation.
67. The algorithm geographically changed the parameters of the algorithm to force blue votes and
    ostracize red.
68. Post block allocation of votes the two points of the algorithm were narrowed ensuring a BIDEN win
    hence the observation of NO Trump Votes and some BIDEN votes for a period of time.




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69.




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70. Gaussian Elimination without pivoting explains how the algorithm would behave and the election
    results and data from Michigan confirm FAILURE of algorithm.




71. The “Digital Fix” observed with an increased spike in VOTES for Joe Biden can be determined as
    evidence of a pivot. Normally it would be assumed that the algorithm had a Complete Pivot.
    Wilkinson’s demonstrated the guarantee as :



                          72.
73. Such a conjecture allows the growth factor the ability to be upper bound by values closer to n.
    Therefore, complete pivoting can’t be observed because there would be too many floating points.
    Nor can partial as the partial pivoting would overwhelm after the “injection” of votes. Therefore,
    external factors were used which is evident from the “DIGITAL FIX”
74. Observing the elections, after a review of Michigan’s data a spike of 54,199 votes to Biden. Because
    it is pushing and pulling and keeping a short distance between the 2 candidates; but then a spike,
    which is how an algorithm presents; - and this spike means there was a pause and an insert was
    made, where they insert an algorithm. Block spikes in votes for JOE BIDEN were NOT paper



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    ballots being fed or THUMB DRIVES. The algorithm block adjusted itself and the PEOPLE were
    creating the evidence to BACK UP the block allocation.
75. I have witnessed the same behavior of the election software in countries outside of the United States
    and within the United States. In -------, the elections conducted behaved in the same manner by
    allocating BLOCK votes to the candidate “chosen” to win.
76. Observing the data of the contested states (and others) the algorithm deployed is identical to that
    which was deployed in 2012 providing Barack Hussein Obama a block allocation to win the 2012
    Presidential Elections.
77. The algorithm looks to have been set to give Joe Biden a 52% win even with an initial 50K+ vote
    block allocation was provided initially as tallying began (as in case of Arizona too). In the am of
    November 4, 2020 the algorithm stopped working, therefore another “block allocation” to remedy
    the failure of the algorithm. This was done manually as ALL the SYSTEMS shut down
    NATIONWIDE to avoid detection.




78.
79. In Georgia during the 2016 Presidential Elections a failed attempt to deploy the scripts to block
    allocate votes from a centralized location where the “trap-door” key lay an attempt by someone using




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      the DHS servers was detected by the state of GA. The GA leadership assumed that it was “Russians”
      but later they found out that the IP address was that of DHS.
80. In the state of Wisconsin, we observed a considerable BLOCK vote allocation by the algorithm at the
      SAME TIME it happened across the nation. All systems shut down at around the same time.




81.


82. In Wisconsin there are also irregularities in respect to BALLOT requests. (names AND address
      Hidden for privacy)




83.




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84.
85. I can personally attest that in 2013 discussions by the Obama / Biden administration were being had
      with various agencies in the deployment of such election software to be deployed in ----- in 2013.
86. On or about April 2013 a one year plan was set to fund and usher elections in -----.
87. Joe Biden was designated by Barack Hussein Obama to ensure the ----- accepted assistance.
88. John Owen Brennan and James (Jim) Clapper were responsible for the ushering of the intelligence
      surrounding the elections in -----.
89. Under the guise of Crisis support the US Federal Tax Payers funded the deployment of the election
      software and machines in ------ signing on with Scytl.




90.




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91. Right before the ----- elections it was alleged that CyberBerkut a pro-Russia group infiltrated ---
    central election computers and deleted key files. These actions supposedly rendered the vote-
    tallying system inoperable.
92. In fact, the KEY FILES were the Commitment keys to allow Scytl to tally the votes rather than the
    election machines. The group had disclosed emails and other documents proving that their election
    was rigged and that they tried to avoid a fixed election.
93. The elections were held on May 25, 2014 but in the early AM hours the election results were
    BLOCKED and the final tally was DELAYED flipping the election in favor of -----.
94. The claim was that there was a DDoS attack by Russians when in actual fact it was a mitigation of
    the algorithm to inject block votes as we observed was done for Joe Biden because the KEYS were
    unable to be deployed. In the case of -----, the trap-door key was “altered”/deleted/ rendered
    ineffective. In the case of the US elections, representatives of Dominion/ ES&S/ Smartmatic/ Hart
    Intercivic would have to manually deploy them since if the entry points into the systems seemed to
    have failed.
95. The vote tallying of all states NATIONWIDE stalled and hung for days – as in the case of Alaska
    that has about 300K registered voters but was stuck at 56% reporting for almost a week.
96. This “hanging” indicates a failed deployment of the scripts to block allocate remotely from one
    location as observed in ------ on May 26, 2014.
97. This would justify the presence of the election machine software representatives making physical
    appearances in the states where the election results are currently being contested.
98. A Dominion Executive appeared at the polling center in Detroit after midnight.
99. Considering that the hardware of the machines has NOT been examined in Michigan since 2017 by
    Pro V& V according to Michigan’s own reporting. COTS are an avenue that hackers and bad actors
    seek to penetrate in order to control operations. Their software updates are the reason vulnerabilities
    to foreign interference in all operations exist.
100.    The importance of VSTLs in underrated to protect up from foreign interference by way of open
    access via COTS software. Pro V& V who’s EAC certification EXPIRED on 24 FEB 2017 was
    contracted with the state of WISCONSIN.
101.    In the United States each state is tasked to conduct and IV& V (Independent Verification and
    Validation) to provide assurance of the integrity of the votes.
102.    If the “accredited” non-federal entities have NOT received EAC accreditation this is a failure of
    the states to uphold their own states standards that are federally regulated.
103.    In addition, if the entities had NIST certificates they are NOT sufficing according the HAVA
    ACT 2002 as the role of NIST is clear.
104.    Curiously, both companies PRO V&V and SLI GAMING received NIST certifications
    OUTSIDE the 24 month scope.



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105.    PRO V& V received a NIST certification on 26MAR2020 for ONE YEAR. Normally the NIST
   certification is good for two years to align with that of EAC certification that is good for two years.




106.


107.   The last PRO V& V EAC accreditation certificate (Item 8) of this declaration expired in
   February 2017 which means that the IV & V conducted by Michigan claiming that they were
   accredited is false.
108.   The significance of VSTLs being accredited and examining the HARDWARE is key. COTS
   software updates are the avenues of entry.
109.   As per DOMINION’S own petition, the modems they use are COTS therefore failure to have an
   accredited VSTL examine the hardware for points of entry by their software is key.




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110.
111.   For example and update of Verizon USB Modem Pantech undergoes multiple software updates a
   year for it’s hardware. That is most likely the point of entry into the systems.
112.   During the 2014 elections in ---- it was the modems that gave access to the systems where the
   commitment keys were deleted.
113.   SLI Gaming is the other VSTL “accredited” by the EAC BUT there is no record of their
   accreditation. In fact, SLI was NIST ISO Certified 27 days before the election which means that PA
   IV&V was conducted without NIST cert for SLI being valid.




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114.
115.   In fact SLI was NIST ISO Certified for less than 90 days.
116.   I can personally attest that high-level officials of the Obama/Biden administration and large
   private contracting firms met with a software company called GEMS which is ultimately the
   software ALL election machines run now running under the flag of DOMINION.
117.   GEMS was manifested from SOE software purchased by SCYTL developers and US Federally
   Funded persons to develop it.
118.   The only way GEMS can be deployed across ALL machines is IF all counties across the nation
   are housed under the same server networks.
119.   GEMS was tasked in 2009 to a contractor in Tampa, Fl.
120.   GEMS was also fine-tuned in Latvia, Belarus, Serbia and Spain to be localized for EU
   deployment as observed during the Swissport election debacle.
121.   John McCain’s campaign assisted in FUNDING the development of GEMS web monitoring via
   WEB Services with 3EDC and Dynology.




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122.
123.
124.   AKAMAI Technologies services SCYTL.




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125.   AKAMAI Technologies Houses ALL foreign government sites. (Please see White Paper by
   Akamai.)
126.   AKAMAI Technologies houses ALL .gov state sites. (ref Item 123 Wisconsin.gov Example)




127.
128.   Wisconsin has EDGE GATEWAY port which is AKAMAI TECHNOLOGIES based out of
   GERMANY.
129.   Using AKAMAI Technologies is allowing .gov sites to obfuscate and mask their systems by way
   of HURRICANE ELECTRIC (he.net) Kicking it to anonymous (AKAMAI Technologies) offshore
   servers.




130.
131.   AKAMAI Technologies has locations around the world.
132.   AKAMAI Technologies has locations in China (ref item 22)
133.   AKAMAI Technologies has locations in Iran as of 2019.
134.   AKAMAI Technologies merged with UNICOM (CHINESE TELECOMM) in 2018.
135.   AKAMAI Technologies house all state .gov information in GERMANY via TELIA AB.




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136.    In my professional opinion, this affidavit presents unambiguous evidence:
137.    That there was Foreign interference, complicit behavior by the previous administrations from
1999 up until today to hinder the voice of the people and US persons knowingly and willingly colluding
with foreign powers to steer our 2020 elections that can be named in a classified setting.
138.     Foreign interference is present in the 2020 election in various means namely,
139.     Foreign nationals assisted in the creation of GEMS (Dominion Software Foundation)
140.    Akamai Technologies merged with a Chinese company that makes the COTS components of the
election machines providing access to our electronic voting machines.
141.    Foreign investments and interests in the creation of the GEMS software.
142.    US persons holding an office and private individuals knowingly and willingly oversaw fail safes
to secure our elections.
143.    The EAC failed to abide by standards set in HAVA ACT 2002.
144.    The IG of the EAC failed to address complaints since their appointment regarding vote integrity
145.    Christy McCormick of the EAC failed to ensure that EAC conducted their duties as set forth by
HAVA ACT 2002
146.    Both Patricia Layfield (IG of EAC) and Christy McCormick (Chairwoman of EAC) were
appointed by Barack Hussein Obama and have maintained their positions since then.
147.    The EAC failed to have a quorum for over a calendar year leading to the inability to meet the
standards of the EAC.
148.    AKAMAI Technologies and Hurricane Electric raise serious concerns for NATSEC due to their
ties with foreign hostile nations.
149.    For all the reasons above a complete failure of duty to provide safe and just elections are
observed.
150.    For the people of the United States to have confidence in their elections our cybersecurity
standards should not be in the hands of foreign nations.
151.    Those responsible within the Intelligence Community directly and indirectly by way of
procurement of services should be held accountable for assisting in the development, implementation and
promotion of GEMS.
152.    GEMS ------- General Hayden.
153.    In my opinion and from the data and events I have observed --------------------- with the
assistance of SHADOWNET under the guise of L3-Communications which is MPRI. This is also
confirmed by us.army.mil making the statement that shadownet has been deployed to 30 states which all




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happen to be using Dominion Machines.




154.    Based on my research of voter data – it appears that there are approximately 23,000 residents of
a Department of Corrections Prison with requests for absentee ballot in Wisconsin. We are currently
reviewing and verifying the data and will supplement.




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155.



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I declare under penalty of perjury that the forgoing is true and correct to the best of my knowledge.
Executed this November 29th, 2020.




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